 1                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 2                                        AT SEATTLE
 3    MATTERPORT, INC., a Delaware                         CASE NO. 2:22-cv-00669
      corporation,
 4                                                         JOINT STATUS REPORT
                         Plaintiff,
 5
              v.
 6
      APPLIANCE COMPUTING III, INC. D/B/A
 7    SUREFIELD, a Delaware corporation,
 8                       Defendant.
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10                                      JOINT STATUS REPORT
            Plaintiff Matterport, Inc. (“Matterport”) and Defendant Appliance Computing III, Inc.
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     d/b/a Surefield (“Surefield”) hereby submit this further joint status report pursuant to the Court’s
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     order dated August 18, 2023, which stayed these proceedings pending resolution of the matter,
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     Appliance Computing III, Inc. d/b/a Surefield v. Redfin Corp., Case No. 6:20-cv-00376 (W.D.
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     Tex.) (the “Texas Case”) and directed the parties to provide a status report on the Texas Case every
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     three months. See D.I. 25. This report follows the parties’ prior Joint Status Reports dated
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     November 18, 2024 (D.I. 31), August 16, 2024 (D.I. 30), May 16, 2024 (D.I. 29), February 14,
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     2024 (D.I. 27), and November 13, 2023 (D.I. 26).
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            The parties have no developments to report from the Texas Case. The post-trial briefing
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     in the Texas Case, which was completed on October 21, 2022, still remains pending. The Court
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     appointed a special master to review the briefing and file a report and recommendation.
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            The parties shall submit a further joint status report no later than Monday, May 19, 2025.
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            RESPECTFULLY SUBMITTED this 17th day of February 2025.
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                                                                               GOLDFARB & HUCK
                                                                               ROTH RIOJAS, PLLC
     JOINT STATUS REPORT - 1                                                925 Fourth Avenue, Suite 3950
     CASE NO. 2:22-cv-00669                                                   Seattle, Washington 98104
                                                                                    (206) 452-0260
 1
      GOLDFARB & HUCK ROTH RIOJAS, PLLC          LOWE GRAHAM JONES
 2

 3    /s/ Kit W. Roth                            /s/ Mark P. Walters*
      Kit W Roth, WSBA No. 33059                 Mark P. Walters, WSBA No. 30819
 4    (roth@goldfarb-huck.com)                   (walters@lowegrahamjones.com)
      925 Fourth Avenue, Suite 3950              1325 Fourth Avenue, Suite 1130
 5    Seattle, Washington 98104                  Seattle, Washington 98101
      Phone: (206) 452-0260                      Phone: (206) 381-3300
 6
      MARTON RIBERA SCHUMANN & CHANG LLP         DINOVO PRICE LLP
 7

 8    /s/ Ryan J. Marton                         /s/ Andrew G. DiNovo*
      Ryan J. Marton, admitted pro hac vice      Andrew G. DiNovo, admitted pro hac vice
 9    (ryan@martonribera.com)                    (adinovo@dinovoprice.com)
      548 Market St. Suite 36117                 7000 N. MoPac Expressway, Suite 350
10    San Francisco, California 94104            Austin, Texas 78731
      Phone: (415) 360-2511                      Phone: (512) 539-2626
11
      Attorneys for Plaintiff Matterport, Inc.   Attorneys for Defendant Appliance
12                                               Computing III, Inc. d/b/a Surefield

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17   *Via email authorization

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                                                                  ROTH RIOJAS, PLLC
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     CASE NO. 2:22-cv-00669                                      Seattle, Washington 98104
                                                                       (206) 452-0260
 1                                  CERTIFICATE OF SERVICE
 2          The undersigned certifies that the foregoing document was filed electronically with the
 3   Clerk of the Court using the CM/ECF system on February 17, 2025 and was served via the Court’s
 4   CM/ECF system on all counsel of record.
 5          DATED this February 17, 2025.
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                                         /s/ Kit W. Roth
 8                                       Kit W Roth, WSBA No. 33059
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                                                                           ROTH RIOJAS, PLLC
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                                                                                (206) 452-0260
